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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CAUSE OF ACTION INSTITUTE                  )
                                           )
                  Plaintiff,               )
                                           )
            v.                             ) Civil Action No. 19-1915 (JEB)
                                           )
EXPORT-IMPORT BANK                         )
OF THE UNITED STATES                       )
                                           )
                  Defendant.               )
__________________________________________)

                            NOTICE OF CHANGE IN COUNSEL

       PLEASE TAKE NOTICE that JESSICA LEE THOMPSON of Cause of Action

Institute hereby withdraws as attorney of record for Plaintiff, CAUSE OF ACTION INSTITUTE

in this action. The basis for this withdrawal is that Ms. Thompson will no longer be employed

with Cause of Action Institute as of October 4, 2019. The remaining undersigned attorneys who

have appeared on behalf of Cause of Action Institute will continue to represent it in this matter.



 Dated: October 3, 2019                      Respectfully submitted,

                                             CAUSE OF ACTION INSTITUTE

                                             By:     /s/ Jessica Lee Thompson
                                             Jessica L. Thompson (D.C. Bar. No. 1542170)
                                             Lee A. Steven (D.C. Bar No. 468543)
                                             Ryan P. Mulvey (D.C. Bar No. 1024362)

                                             CAUSE OF ACTION INSTITUTE
                                             1875 Eye St., NW, Suite 800
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                           Washington, DC 20006
                           Telephone: (202) 499-4232
                           Facsimile: (202) 330-5842
                           jessica.thompson@causeofaction.org
                           lee.steven@causeofaction.org
                           ryan.mulvey@causeofaction.org

                           Counsel for Plaintiff




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